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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
)
RHODES PHARMACEUTICALS L.P., )
)
Plaintiff, ) Civil Action No. 16-1668
) (WHW)(CLW)
v. )
)
ACTAVIS ELIZABETH LLC )
and ACTAVIS LLC, ) (Filed Electronically)
)
Defendants. )
)

STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

Pursuant to agreement between the parties and Federal Rules of Civil Procedure
4l(a)(l)(A)(ii) and 41(c), Plaintiff Rhodes Pharmaceuticals L.P. and Defendants Actavis
Elizabeth LLC and Actavis LLC (collectively, the “Parties”) hereby stipulate and agree that all
claims, counterclaims and affirmative defenses asserted by the Parties against one another in the
above-captioned action (the “Action”) are hereby dismissed with prejudice, and without costs,
disbursements, or attorneys’ fees to any party. It is further stipulated that the U.S. District Court
for the District of New Jersey retains jurisdiction to enforce the order of dismissal and any

related agreements or orders, and to resolve any disputes relating thereto.

so sTlPULATED;
Dated; April 5, 2018

By: s/ William C. Baton

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By:

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so oRDERED this 17 day of §€’( ' , 2018
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H°n°a U. s. o. J.
United States District Judge

 

